Case 2:04-cV-02937-.]DB-tmp Document 35 Filed 07/08/05 Pagelof_€ |_§’age|D-ZS

 

IN THE UNITED sTATEs DISTRICT coURT nw BVL££°'C'
FoR THE wEsTERN DISTRICT oF TENNESSEE ‘ '
wEsTERN DIVISION 05 JUL "8 PH [*‘1‘9
§§MBM&HUD
q;.C?.EH!< U.S. USTP§CTCOUT

' iva/f gm uaw
TONI swANIGAN, LILLIE MAE ""-“U{ 'M…S

MCGHEE-ALEXANDER, SHERRY
MOORE, JACQUELINE BROOKS,
DARRELL MACKEY, and ANISSA T.
SWANIGAN for themselves and
and all persons similarly
situated,

04-2937 B/P
Plaintiffs,

vs.
NORTHWEST AIRLINES, INC.,

Defendant.

\_r\.¢`.¢v`_¢\_/\_/vvv\_rv\_n\.z`_¢`.¢\_r

 

ORDER GRANTING IN PART DEFENDANT'S MOTION TO STAY DISCOVERY
PENDING A RULING BY THE COURT ON NORTHWEST'S MOTION FOR JUDGMENT
ON THE PLEADINGS WITH RESPECT TO PLAINTIFFS' CLASS ACTION
ALLEGATIONS

 

Before the court is defendant Northwest Airlines, Inc.’s
Motion, to Stay Discovery Pending a Ruling by the Court on
Northwest's Motion for Judgement on the Pleadings With Respect to
Plaintiffs’ Class Action Allegations, filed May lO, 2005 (dkt #16).
Plaintiffs filed their response On June 13, 2005. With leave of
court, a reply was filed by the defendant on June 24, 2005. The
matter was referred to the Magistrate Judge for determination.

For the reasons below, the motion is GRANTED in part.

Tmsdocumenten&wedonthedockm heetH1cq3pHamce
th Hule 58 and/or 79(a) FRCP on 12 - //“0-5

ease 2:04-cV-02937-.]DB-tmp Document 35 Filed 07/08/05 Page 2 of 6 Page|D 24

I . BACKGROUND

Plaintiff filed this Title VII racial discrimination class
action complaint on November ll, 2004. In their complaint, the
plaintiffs allege that their employer, defendant Northwest
Airlines, Inc., has a company~wide pattern and practice of racial
discrimination that adversely affects all African-Americans
employed by the defendant. They contend that defendant's African-
American employees on a whole are assigned less desirable, lower
paying jobs than Caucasian employees of lesser or equal
qualifications. Plaintiffs assert that defendant’s conduct
constitutes disparate impact discrimination and that the defendant
has engaged in a pattern or practice of fostering, tolerating, and
condoning a company-wide work environment that is hostile,
intimidating, and degrading to African-Americans. Finally,
plaintiffs believe that African-American employees who file charges
of racial discrimination suffer retaliation.

On May lO, 2005, the defendant filed a Motion for Judgment on
the Pleadings With.Respect to Plaintiffs' Class Action Allegations.
In that motion, the defendant argues that plaintiffs' class claims
cannot, as a matter of law, be certified under Fed. R. Civ. P. 23,
even. if all of the factual allegations in the complaint are
presumed to be true. Defendant claims that plaintiffs’ purported
class cannot be certified under Rule 23 as a matter of law given

the “highly' individualized nature of their claims” and their

Case 2:04-cV-02937-.]DB-tmp Document 35 Filed 07/08/05 Page 3 of 6 Page|D 25

request for compensatory and punitive damages.

On that same date, the defendant filed the present motion to
stay discovery, asking that the court stay all discovery until the
District Judge rules on defendant's motion for judgment on the
pleadings. Plaintiffs oppose the motion, but argue in the
alternative that, at minimum, the parties should be allowed to move
forward with discovery on plaintiffs’ individuals claims ~ claims
which are not the subject of defendant’s motion to dismiss.

II . ANALYSIS

lt is well settled that a court has discretion. to stay
discovery pending determination of dispositive motions. §§§
Nichols v. Baptist Memorial Hosp., No. 02-2561, 2004 WL 2905406, at
*2 (W.D. Tenn. April 2, 2004)(unpublished)(citing cases).
Moreover, Fed. R. Civ. P. l states that the federal rules “shall be
construed and administered to secure the just, speedy, and
inexpensive determination of every action.” ;d. (quoting Fed. R.
Civ. P. l). In deciding whether a stay of discovery is appropriate
when dispositive motions are pending, the court should consider,
among other factors, whether the pending motion will dispose of the
entire case, whether discovery is necessary to gather facts in
order to defend against a dispositive motion, and whether the party
seeking the discovery will be prejudiced by the delay. ld. at *2
(citing cases).

In the present case, the court finds in its discretion

Case 2:04-cV-02937-.]DB-tmp Document 35 Filed 07/08/05 Page 4 of 6 Page|D 26

sufficient justification to stay discovery relating to the class
allegations until the court rules on defendant's motion to dismiss.
Of primary importance to the court in reaching this decision is the
fact that class discovery in this particular case has the potential
to consume vast resources from all litigants. See In re Managed
Care Litigation, No. 00-1334, 2001 WL 664391, at *3 (S.D. Fla. June
12, 2001)(unpublished). The plaintiffs have not indicated that
they need any class discovery to defend against defendant's motion
to dismiss, and in fact, have already filed their response to that
motion. Although in their response plaintiffs assert that
“plaintiffs are in need of discovery to support the motion to
certify the class,” a motion to certify the class is not in defense
of the pending motion to dismiss, which by its nature must be
decided only on the pleadings. Moreover, other than stating in
their response brief that a stay of discovery would be prejudicial
to them given the defendant's alleged ongoing, company-wide
discriminatory practices and policies, the plaintiffs have not
articulated any specific examples of prejudice they would suffer as
a result of a temporary stay of class discovery. Finally,
defendant has only recently filed its answer to the complaint, a
scheduling order has not yet been entered by the court, and no
trial date has been set.

The court notes, however, that the pending motion to dismiss,

if granted, would not dispose of the entire case, and the court

Case 2:04-cV-02937-.]DB-tmp Document 35 Filed 07/08/05 Page 5 of 6 Page|D 27

finds no basis at this time to stay discovery on the plaintiffs’
individual claims. Potential overlap in individual and. class
discovery, or the possibility that future motions or defenses may
dispose of plaintiffs’ individuals claims do not justify a stay of
individual claims discovery at this time. Therefore, the parties
are directed to meet and confer regarding a discovery plan on
plaintiffs’ individual claims, and to appear before the court on
July 28, 2005 for a scheduling conference pursuant to Rule l€(b).
III . CONCLUSION
For the reasons above, the defendant's motion to stay

discovery is GRANTED in part.

IT is so oRDsRED. /_.c;@b

TU IVI. PHAM
United States Magistrate Judge

 

;;le\ $£ ;hS{d§`

Date §§

I"ISTRCT oURT WESTRNE ISRICTOF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02937 Was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

.1 ona J. Miller

KING & SPALDING LLP
191 Peachtree St.7 N.E.
Ste. 3900

Atlanta, GA 30303

Ralph T. Gibson

BATEMAN GIBSON & CH[LDERS
65 Union Ave.

1010 Cotton EXchange Bldg.
1\/lemphis7 TN 38103

R. Scott Ferber

KING & SPALDING LLP
191 Peachtree St.

Atlanta, GA 30303

Alexander W. Wellford

FARRIS MATHEWS BRANAN BOBANGO HELLEN & DUNLAP, PLC
One Commerce Square

Ste. 2000

1\/lemphis7 TN 38103

Todd D. Wozniak

KING & SPALDING, LLP
191 Peachtree St.

Atlanta, GA 30303

Honorable .1. Breen
US DISTRICT COURT

